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  IN THE COURT OF COMMON PLEAS OF WASHINGTON COUNTY, PENNSYLVANIA
                           CIVIL DIVISION
                                                                          ^6
THOMAS ALLEN GIVENS                                                         O
                          PLAINTIFF
                                                                              ty?
vs.
                                                   No. 3 9 39- ZOZ.Z
WAL-MART STORES, INC.

                         DEFENDANT

                                                   TYPE OF PLEADING:
                                                    COMPLAINT IN CIVIL ACTION


                                                   FILED ON BEHALF OF:
JURY TRIAL DEMANDED                                THOMAS GIVENS, PLAINTIFF

                                                   COUNSEL OF RECORD FOR THIS
                                                   PARTY:

                                                   ADAM YARUSSI, ESQUIRE
                                                   Pa.ID. No. 315389
                                                   ADAM YARUSSI & ASSOCIATES, LLC
                                                   31 N. Main Street, Suite 105
NOTICE TO PLEAD                                    Washington, PA 15301
                                                   adamyarussilawoffice@gmail.com
To: Defendant                                      (724)942-5111

You are hereby notified to file a written
response to Plaintiffs Complaint within
twenty (20) days from service hereof or a
default judgment may be entered against you.




Counsel for Plainti)




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   IN THE COURT OF COMMON PLEAS OF WASHINGTON COUNTY, PENNSYLVANIA
                            CIVIL DIVISION

 THOMAS ALLEN GIVENS

                           PLAINTIFF

 vs.
                                                   No.   3Q39-Z0ZZ
 WAL-MART STORES, INC.

                          DEFENDANT

                                   NOTICE TO DEFEND

        YOU HAVE BEEN SUED IN COURT. If you wish to defend against the claims set forth
in the following pages, you must take action within TWENTY (20) DAYS after this Complaint
and notice arc served, by entering a written appearance personally or by attorney and filing in
writing with the Court your defenses or objections to the claims set forth against you. You are
warned that if you fail to do so, the case may proceed without you, and a judgement may be
entered against you by the Court without further notice for any money claimed in the Complaint
or for any claim or relief requested by the plaintiff. You may lose money or property or other
rights important to you.

      YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER OR CANNOT AFFORD ONE GO TO OR TELEPHONE THE
OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.
THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER.

     IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE
TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER
LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

                              LAWYER REFERRAL SERVICE
                                  119 South College Street
                               Washington, Pennsylvania 15301
                              Telephone number: 724-225-6710

               SOUTHWESTERN PENNSYLVANIA LEGAL AID SOCIETY
                             10 West Cherry Avenue
                         Washington, Pennsylvania 15301
                        Telephone number: 724-225-6170




                                               2
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   IN THE COURT OF COMMON PLEAS OF WASHINGTON COUNTY, PENNSYLVANIA
                            CIVIL DIVISION

 THOMAS ALLEN GIVENS

                               PLAINTIFF

 vs.
                                                        No.
 WAL-MART STORES, INC.

                               DEFENDANT

                                 COMPLAINT IN CIVIL ACTION

          AND NOW, comes Plaintiff, Thomas Givens, by and through his counsel, ADAM

YAUIJSSI & ASSOCIATES, LLC, and sets forth his Complaint in Civil Action averring as

follows:

                                                   PARTIES

       1. Plaintiff, Thomas Givens (hereinafter “Plaintiff’), is an adult individual residing at 105

          East High Avenue, Elco, PA 15434.

   2. Defendant, Walmart, Inc, (hereinafter “Defendant”) is a Delaware corporation doing

          business in the Commonwealth of Pennsylvania with a principal place of business located

          at 702 S.W. 8"’ Street. Bentonville, AK 72716.

   3. Defendant operates a retail store Wal-Mart Supercenter #4501 located at a 134 Daniel

          Kendall Drive, Washington County, West Brownsville, Pennsylvania 15417.

                                         JURISDICTION & VENUE

   4. Venue and jurisdiction are proper in Washington County, Pennsylvania as all the Plaintiff

          is a resident of Washington County, Pennsylvania and Defendant’s business operates

          within Washington County, Pennsylvania and all facts and occurrences took place at




                                                    3
   Case 2:22-cv-01006-CCW Document 1-1 Filed 07/11/22 Page 4 of 17



   Wal-Mart Supcrcenter #4501 located in West Brownsville, Pennsylvania located

   Washington County, Pennsylvania.

                                            FACTS

5. Defendant was charged by the West Brownsville Police Department for Retail Theft 18

   Pa.C.S. § 3929 §§ A1 M-l for allegedly committing a Retail Theft at Wal-Mart

   Supercenter located at 134 Daniel Kendall Drive, Brownsville, Pennsylvania 15417.

6. Defendant, by and through its Loss Prevention Department’s agent, employee, and/or

   contractor Chad Shontz, claimed Plaintiff was present at Wal-Mart Store, Inc.’s Wal-

   Mart Supercenter Store #4501 on May 13, 2021, and that Plaintiff was on security

   footage.

7. According to Loss Prevention Officer Chad Shontz, Mr. Shontz alleged that Plaintiff and

   two other individuals were observed in the tool section at Wal-Mart Supercenter Store

   #4501 selected several tools and place them into blue cloth bags.

8. Defendant’s employee Chad Shontz indicated that Plaintiff set down the blue cloth bag

   with tools, and two other individuals exited the store through all points of sale.

9. Wal-Mart, Inc.’s Asset Protection Officer, Chad Shontz, published and/or communicated

   Plaintiffs name and identified Plaintiff as a criminal offender to the West Brownsville

   Police Department in order to file criminal charges against Plaintiff. (See Plaintiff’s

   Attached Exhibit 1)

10. Plaintiff was working on May 13, 2021 and was not present at Wal-Mart Supcrcenter

   Store #4501.

11. Defendant did not see the police report until after the June 17, 2021.




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12. Plaintiff requested several times for a copy of the video surveillance video showing

    Defendant to be present at Wal-Mart Supercenter Store #4501 and even subpoenaed the

    video but never received a copy proving Plaintiff was present and/or committed the retail

    theft.

13. Plaintiff by and through Counsel file a Petition for Writ of Habeas Corpus at the

    Washington County Court of Common Pleas at Docket No. CR-1152-2921, where

    Defendant’s case was dismissed by Senior Judge Katherine Emery with prejudice

                                   COUNT I
                                DEFAMATION
                    THOMAS GIVENS V. WAL-MART STORES, INC.

14. Plaintiff incorporates by reference paragraphs 1 through 13 as if though were fully set

    forth herein.

15. A statement is defamatory if it tends to harm the reputation of another so as to lower him

   in the estimation of the community or deter third persons from associating or dealing with

   him. 42 Pa.C.S. § 8343.

16. As a direct and proximate result of Defendant’s defamation, Plaintiff has suffered

   economic loss and general distress in an unliquidated amount with income loss to be

   determined in discovery.

17. Defendant’s conduct was knowingly willful, malicious, and outrageous, and warrants

   imposition of punitive damages.

   WHEREFORE, Plaintiff, Thomas Givens, demands compensatory, special, and punitive

damages against Defendant, Wal-Mart Stores, Inc., in a sum in excess of $50,000.00 plus

interests, costs, and fees, and any other relief that the court deems just and proper.




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                                 COUNT II
                               NEGLIGENCE
                   THOMAS GIVENS V. WAL-MART STORES, INC.

18. Plaintiff incorporates by reference paragraphs 1 through 17 by reference as if more fully

   set forth herein.

19. At all times relevant hereto, Plaintiff acted with reasonable care and prudence, and

   neither contributed to nor caused the damages complained of herein.

20. Defendant, by and through its employees, agent, and/or contractors negligently and

   carelessly created an Asset Protection Record and communicated with the West

   Brownsville Police Department defaming Plaintiff calling Defendant by attesting that

   Defendant committed the crime of retail theft while present as a patron at Wal-Mart

   Supercenter Store #4501 in West Brownsville, Pennsylvania.

21. Defendant, by and through its employees, agents, and/or contractors, negligently and

   carelessly failed to investigate and ascertain the proper identity of person who truly

   committed a retail theft, negligently published the identify and informed the police of the

   wrong individual and carelessly published and/or orally communicated Plaintiffs name

   to the West Brownsville, Pennsylvania Police Department in order to institute criminal

   charges against Plaintiff for a Retail Theft criminal charge.

22. The damages and losses set forth below were the direct and/or proximate result of the

   negligence, carelessness, and/or recklessness of Defendant, Wal-Mart Stores, Inc., in any

   and all of the following respects:

   a. In failing to exercise reasonable care in a reasonable and prudent manner;

   b. In failing to exercise due care and caution under the circumstances;


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       c. Being otherwise negligent and careless reporting facts and at law;


       d. Negligently and falsely reporting Plaintiffs name to the West Brownsville,
          Pennsylvania Police Department in order to pursue criminal charges against Plaintiff;


       e. Plaintiffs name was held in ill repute in the community;


       f. Plaintiff has lost several job opportunities due to Plaintiffs pending criminal court
          action which was ultimately dismissed with prejudiced; and


       g. Plaintiff suffered anxiety and emotional distress due to Defendant’s negligence,
          recklessness, and careless investigation of the allegations made against Plaintiff.


   23. As a direct and/or proximate result of the above negligence, carelessness, and/or

       recklessness, Plaintiff has suffered the following injuries and damages including but not

       limited to:

           a. Insomnia;

           b. Emotional distress; and

           c. shock and mental anguish;

   24. As a result of his injuries, Plaintiff has undergone and continues to undergo great pain

       and suffering and inconvenience.

   25. As a result of his injuries. Plaintiff has incurred and may continue to incur income losses

       and lost job opportunities.

   26. As a result of his injuries, Plaintiff may have suffered a diminution of the ability to enjoy

       life and life’s pleasures.

   WHEREFORE, Plaintiff, Thomas Allen Givens, demands compensator, special, and

punitive damages against Defendant, Wal-Mart Stores, Inc., in a sum in excess of $50,000.00

plus interests, costs, and fees, and any other relief that the court deems just and proper.


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                                 COUNT III
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
              THOMAS ALLEN GIVENS V. WAL-MART STORES, INC.

27. Plaintiff, Thomas Allen Givens, incorporates by reference paragraphs 1 through 27 as if

   fully set forth herein.

28. As a direct and proximate result of the Defendant, Wal-Mart Stores, Inc., Defamation and

   Negligence set forth above. Plaintiff, Thomas Allen Givens, has experienced and suffered

   severe emotional distress and extreme mental pain, anguish, and suffering which has

   manifested itself physically in the form of nightmares, depression, anxiety, and/or loss of

   concentration.

29. As a result of the Defendant, Wal-Mart’s Inc.’s, negligence and/or negligence committed

   against, Plaintiff, Anthony Ward, was caused by to suffer injuries in the nature of severe

   and ongoing emotional distress and mental anguish, the physical manifestations of which

   included sleeplessness, restlessness, anxiety, and discomfort.

30. As a result of the injuries, Plaintiff, Thomas Allen Givens, claims the following damages:

       a. Past and future pain, suffering, mental anguish, discomfort, inconvenience, and

           distress;

       b. Past and future embarrassment and humiliation;

       c. Past and future loss of the ability to enjoy various pleasures of life;

       d. Past and future loss of earnings and earning capacity;

       c. All other damages as are permitted by law.




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    WHEREFORE, Plaintiff, Thomas Allen Givens, demands compensatory, special, and

punitive damages against Defendant, Wal-Mart Stores, Inc., in a sum in excess of $50,000.00

plus interests, costs, and fees, and any other relief that the court deems just and proper.

                                   COUNT IV
                     VICARIOUS LIABILITY-AGENCY LIABILITY
                  THOMAS ALLEN GIVENS V. WAL-MART STORES, INC.

   31. Plaintiff incorporates by reference paragraphs 1 through 30 as if fully set forth herein

   32. Defendant, Wal-Mart Stores, Inc. is vicariously liable for the negligent acts and/or

       commissions of Defendant’s agents, servants, and/or employees, actual and/or apparent,

       by virtue of their actual relationship and/or Defendants’ omissions, whose negligence is

       set forth fully throughout this Complaint in Civil Action.

   33. As a direct and proximate result of the negligence, carelessness, and recklessness as more

       specially set forth above, Plaintiff, Thomas Allen Givens, has suffered those injuries and

       damages outlined about throughout this Complaint in Civil Action.

   WHEREFORE, Plaintiff, Thomas Allen Givens, demands compensatory, special, and

punitive damages against Defendant, Wal-Mart Stores, Inc., in a sum in excess of $50,000.00

plus interests, costs, and fees, and any other relief that the court deems just and proper.



Dated: June 7, 2022
                                                      Adam Yarussi, E£<$ire
                                                      Pa. Attorney     No. 315389
                                                      ADAM YA1U£       & ASSOCIATES, LLO
                                                      31 North Main Street, Suite 105
                                                      Washington, Pennsylvania 15301
                                                      Phone: (724) 942-5111




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   IN THE COURT OF COMMON PLEAS OF WASHINGTON COUNTY, PENNSYLVANIA
                            CIVIL DIVISION

 THOMAS ALLEN GIVENS

                             PLAINTIFF

 vs.
                                                      No. 3939- 30ZZ,
 WAL-MART STORES, INC.,

                            DEFENDANT


                                         VERIFICATION

        I, Thomas Givens, hereby verify that the facts set forth in the foregoing Complaint in

Civil Action arc true and correct to the best of my knowledge, information or belief, and further

state that I am authorized to make this verification.

        This verification is made subject to the penalties of 18 Pa.C.S. § 4904 relating to unsworn

falsification



Dated: June 7, 2022                           Tloowas givens_______
                                              Thomas Givens, Plaintiff




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 5/18/2021             https://phonl25640us.homeoffice.wal-mart.cam/apis/apis260/Por1alSysterr /Apis/render.asp?Rec_ID=IC10103588892&Print=Yes


               Case- external 'hevi: 01-21-04501-0000023 (ICit 103583892)-Guesi;( 0) 0


                                             ASSET PROTECTION CASE RECORD

        Case ID                              01-21-04501-0000023
        Status
                                                                                              Suspect/Offender
                                             New
                                                                                                         THOMAS GIVENS (Customer)
        Location                          04501 - WEST
                                        . BROWNSVILLE, PA
        Division                          01
        Sub-Division                         E
        Region                               20
        Market                               235
        Store Address                        134 DANIEL KENDALL DR
        Store City                           WEST BROWNSVILLE                          No Mcture Available
        Store State                          PA
        Store Zip Code                       15417
        Country                              15417                              THOMAS GIVENS
                                                                                10 BROCCO LANE
                        Additional, Locations                                   GRINDSTONE
                              No location was sot                               PA 15442
                                                                                Phone NM
                                                                                Cell Phone N/A
                                        !
                                                                                ID Number1 PA-31701327
                                                                                Date of Bir h 10/9/1997 (23 now)
                                                                                Employer Name Company name.
                                                                                Vendor Id Vendor Id.
                                                                                 No locat on was set


          Summary        Suspect & Persons             Event Value/Evidenco       Interview, Police & Court        Case Details      All

                                        I
                                                                                          F egister Number
                          Apprehension information                                        Operator Number
                                                                                          Transaction Number
          * Event Date                               5/13/2021
          Weekday                                    Thursday
                                                                                              Event Value Summary
          Time Apprehended                           12:10:00 PM                              MERCHANDISE S559.41
          Reporting UserlD                           COSHONT.S04501_04501_US
                                                                                                              N S288.80
          Owner Group                                WAL-MART
                                                                                                              Y 5270.61
          Owner ID                       i
                                                     COSHONT.S04501_04501_US
          Assisted By 1 [7]                          POLICE                                               Total S559.41
          Assisted By 2 [?]
          * Affected Business                        Walmart
          * Incident Type                            NON-ASSOCIATE THEFT
          * Sub-Type                                 CONCEALMENT
          * Method of Crime [?]                      IN SHOPPING BAG
          * Location of Crime                        FRONT ENTRANCE EXIT GM
          * Location of Apprehension                 N/A API


             Apprehension (1)
              Observed By: CHAD SHONTS APASM JENNY

hnps://phont25640us.homeoffice.wal-martxom/apis/apis260/PortalSystem/Apis/ronder.asp?RecJD= IC101D3588892&Print=Yes                              1/6

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            Case 2:22-cv-01006-CCW Document 1-1 Filed 07/11/22 Page 12 of 17


5/18/2021             htlps://phon!25640us.homeofIico.v/ai-mart.com.'apis/apis260/PorlalSystem Apis/rencIer.asp?RecJD=ICl0103588B92&Pnnt=YGs
              First Observed: 12:10:00 PM
              Place Apprehended: NA
              Crime Tools: BAGS
              ’ Handcuffs Used by Wal-Mart Associate: NO
              Money on Suspect:




             Suspect/Offender (1)




                   a
               No Picture Available
                                       THOMAS GIVENS ID Number PA-31701327
                                       10 BROCCO
                                       LANE
                                       GRINDSTONE
                                       PA 15442
                                       Phone N/A
                                       Cell Phone N/A
                                                      Date of Birth 10/9/1997 (23 now)
                                                      Employer Name Company ame.
                                                      Vendor Id Vendor Id.
                                                       No location was set




             Parent or Guardian Name (0)
             No record found




             Witness (0)
             No record found |




             Persons Acting in Concert (0)
             No record found




             Persons With Knowledge (0)
             No record found 1




             Event Value ($559.41 - 25 Items)
             # * Item Type -          * 5-Digit Store / Facility-     UPC              ' Desc.     * QtyUnit Total 'Recovered?
               REQUIRED FOR           REQUIRED FIELD(Use                                                Price Price
               ALL ITEMS              Loading Zeros - eg:00001)                                         (Local)(Local)
             1 MERCHANDISE            04501                           88952636583      HT 3P 1/2 1       9.88    9.88   Y
             2 MERCHANDISE            04501                           7681214538       HT 9P   1         10.84 10.84 Y
                                                                                       STAR
                                                                                       SOCKETS
             3 MERCHANDISE            04501                           88952636582      HT 3P 3/8 1       8.88    8.88   Y

http5://phont25640us.homeoffce.wal-mart.com/apis/apis260/Pcr1a!System/Apis/render.asp?RocJD =IC10103588892SPrtnh=Yes                           2/6

             S'd                  69ZSS9ZtrSZ                                             ooiiod e||!ASUA\ojg Jsgm            dUiSO IZZOinr
               Case 2:22-cv-01006-CCW Document 1-1 Filed 07/11/22 Page 13 of 17


  SM 8/2021               https://phont25640us.honiBoflica.wal-mart.conVapis/apls260/PoftalSyston /Apis/rendor.asp?Rcc_ID=IC10103588892&Print=Yes
                    4 MERCHANDISE        04501                             890732824886 HT18PC          1     11.94   11.94 Y
                                                                                            Wrench
                i                                                                           SET
                    5 MERCHANDISE        04501                             7681214531       H '11 PC    1     12.88 12.88 Y
                                                                                            3/5
                    6 MERCHANDISE        04501                             82090905821      HT20P3/81         17.88 17.88 Y
                    7 MERCHANDISE        04501                             81002239974      HR 1/2      1     16.88 16.88 Y
                    8 MERCHANDISE        04501                             0820909005820SET             1     15.88 15.88 Y
                    9 MERCHANDISE        04501                             7681214519       H'3/8       1     7.88    7.88   Y
                    10MERCHANDISE        04501                             88952636584      HT3PC       1    6.97     6.97   Y
                                                                                            UNIV
                                                                                            JOINT
                    11 MERCHANDISE      04501                              81002239065     HR 16P   1        21.97 21.97 Y
                                                                                           P/SS
                                                                                           THRU SET
                    12MERCHANDISE       04501                             7681212757        H‘ 1/2      1    10.97 10.97 Y
                    13MERCHANDISE       04501                             81002239064      HR3P    1         18.88 18.88 Y
                                                                                           UNIVRSL
                                                                                           SIT SET
                    14 MERCHANDISE     04501                              81002239817      HR 7P    1        29.88 29.88 Y
                                                                                           R/ TCHET
                                                                                           WSSAE
                    15MERCHANDISE       04501                             081002239059 TOOLS           1     69       69     Y
                    16MERCHANDISE       04501                             152458548885 PIRATE  10            28.88 288.8 N
                                                                                       JACKETS



              Total Case Value [?]                    559


                Weapon (0)
                No record found



                                                                    Evidence

                                                 Digital                                                          Other
          * Evidence Photo                            No                                          Physical Contact     NO
          Reason for No Evidence Photo                                                            Searched By
          Evidence Location                                                                       Injuries?           NO
          Evidence Custodian                                                                      * Trespass          NA
          * Case Recorded?                            YES                                         Prior Record        NO
              VCR or     DVR                                                                        Record Number
              DVR?                                                                                 Incident Number
              CCTV             CHADS                                                              Customer            NO
              Operator                                                                            Involved
              Name                         i


                                                 Tools

          View Tools Used                            NO

hltps://phont2S640us.homeolfice.wa]-mart.com/apis/apis260/PortalSystejn/Apis/rcndor.asp?RocJD IC10103588892&Print=Yes
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             Case 2:22-cv-01006-CCW Document 1-1 Filed 07/11/22 Page 14 of 17


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             Other Tools Used
             View Control Breaks                        NO
             Tools Recovered
          * Which departments’ merchandise are involved in the recoveiy?(Check j II that apply)
          Other                    '

             Please input
             other
             Departments




               Police (0)
                No record found



             * Was an ORC form filled out              No                                         * Prosecuted?   Y
             * Was Global Investigations' notified     No                                         Promissory Note No
             * Authority Referred To                   MAG                                        Civil Demand
             Admission Type                            NO ADMISSION GIVEN                         Account
             Signed Statement                          NA                                        Rest Override   0
             * Disposition                             CHARGES FILED                             Promissory Note
                                                                                                 Amount
                                                                                                 Number of
                                                                                                 Payments
                                                                                                 Payment Start
                                                                                                 Date


               Vehicle Details (0)
              [^Vehicle makeVehicle typeVehlcle colorVehicle plate Vehicle state Vehlc o ageVehicle detail]




               Interview (0)
               Mo record found




               Court (0)
               No record found




              Record Attachments (0)
                Evidence           Evidence              File       Created     Created       treated       Provided to External
              f Number             Description           Name       By          Date          'ime          Agencies
                                            I




          Approved Dale                                                                              Date Created:     5/18/2021
          Approved By User ID                                                                       Closed Date
                                            i
          Approved By Name                  i
                                                      CHAD SHONTS - COSHONT.S0450J                  Closed By
                                          1
ht1ps^/phonl25640us.homeof(ice.wal-martcofn/apis/apis260/Por1alSyslom/Apis/rendor.asp?Rcc_ID:4C10103588B92&Rrinl=Yes
                                                                                                                                                   •1/6
                                            I
               g-d                    69ZeQ9Zt^Z                                              80!|0d 0||!ASUMOjg isom              dLi:eO IZZOinr
             Case 2:22-cv-01006-CCW Document 1-1 Filed 07/11/22 Page 15 of 17


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                ONLY LETTERS, NUMBERS, COMMAS, PERIODS AND HYPHENS ARE
                           ALLOWED FOR SPECIAL CHARACTERS

             " Enter time and date of which below described event         12:10:00 PM
             occurred                   !


               * Case Details (Created by:
               COSHONTS045bl_04501_US - Created date:
               5/18/2021 1:15:27 PM)
              [Created by - Created date
               COSHONT.S04501_04501 US-5/18/2021 1:15:27 PM                                                                       fmore...!
               I CHAD SHONTS APA WORKING ON 5/13/21 OBSERVED 3 SUBJECTS NOW KNOWN TO ME AS ARRAM NELSON
               THOMAS GIVENS AND J^COB WOLFE IN THE TOOL SECTION SELEC 'ING SEVERAL TOOLS AND PLACE THEM
               INTO BLUE CLOTH BAGS.THEY THEN SPLIT UP AS TOMAS AND ARRAM MADE THERE WAY TO THE FRONT
               DOORS PASSING ALL POINTS OF SALE WHERE APASM JENNY ASKE 5 FOR THE RECIPT THEY DID NOT HAVE
               ONE AND SET THE BAG DOWN THOMAS EXITES THE STORE AND ARRAM RE ENTERED THE STORE AND
               EXITED OUT THE LG EXIT AND JACOB EXITED THE STORE AS WE WERE OUT ON THE SIDE WALK WITH
               POLICE GETTING A DECRIPTION OF THE CAR.WBV POLICE WERE ABLE TO STOP ARRAM IN THE LOT BUT
               THE OTHERE TOOK OFFTN A CAR.WBV POLICE WILL FILE ALL THE CHARGES.




               Comments and Notes
              [Created by - Created date!
               No record found




              Account Information
              [Account TypoAccount/xref NbrAccount Namel




              Rejection Notes .
              [Created by - Created datel
              No record found



              Tasks (0 Pending)
             [AssignerAssignoeDuo DateTaskNotesStatusCompleted NotesDato Co npletedOptionsl
                                         , No Tasks found for this clement



              Notifications (0)
              No record found




              ALERTS AND MESSAGES
             [Created by - Created date]
              No record found            !
https://phont25640us.homoottico,wal-martcom/apis/apls260/PortalSystom/Apis/ronder.asp?Roc_ID; IC10103588892SPrint=Yes                            5/6

               9'd                 eszesgztrzz                                             eoiioj enjASUMOjg iseM               du:£0 ISZOinr
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                    Ail information contained within this document is considered priva :e and belongs to Wal-Mart Stores, Inc.




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       Case 2:22-cv-01006-CCW Document 1-1 Filed 07/11/22 Page 17 of 17




   IN THE COURT OF COMMON PLEAS OF WASHINGTON COUNTY, PENNSYLVANIA
                            CIVIL DIVISION

 THOMAS ALLEN GIVENS

                             PLAINTIFF

 vs.
                                                      No. 3 ?3<? '
 WAL-MART STORES, INC.,

                            DEFENDANT


                              CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of the Unified

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documents.



Dated: June 7, 2022
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